          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                  CRIMINAL NOS. 1:01CR45 & 3:01CR11-3


UNITED STATES OF AMERICA,                  )
                                           )
                                           )
            Vs.                            )            ORDER
                                           )
                                           )
PHILIP B. GREER                            )
                                           )


      THIS MATTER is before the Court on the Defendant's motion for

release pending appeal of his conviction. No response from the

Government is required and the motion is denied.

      The release of a defendant after conviction but during the pendancy

of an appeal is controlled by 18 U.S.C. § 3143(b) which provides in

pertinent part:

      [T]he judicial officer shall order that a person who has been
      found guilty of an offense and sentenced to a term of
      imprisonment, and who has filed an appeal . . . be detained,
      unless the judicial officer finds –
             (A) by clear and convincing evidence that the person is
      not likely to flee or pose a danger to the safety of any other
      person or the community if released . . .; and
             (B) that the appeal is not for the purpose of delay and
      raises a substantial question of law or fact likely to result in –
             (i) reversal,



     Case 3:01-cr-00011-MOC     Document 494     Filed 08/28/07   Page 1 of 3
                                       2

             (ii) an order for a new trial,
             (iii) a sentence that does not include a term of
             imprisonment, or
             (iv) a reduced sentence to a term of imprisonment
             less than the total of the time already served plus
             the expected duration of the appeal process.

18 U.S.C. § 3143(b) (emphasis added). "The clear language of th[e]

section requires the judicial officer to order the person detained once a

finding of guilt has been made. While the section does permit some

releases pending appeal, it is obvious from the statute that such releases

are to be the exception." United States v. Hamrick, 720 F. Supp. 66, 67

(W.D.N.C. 1989).

      The Court rejects the Defendant’s argument that he is not likely to

flee or to pose a danger to any person or the community pending the

appeal merely because he has been placed in a minimum security facility.

Moreover, the undersigned does not find the question of law raised by the

appeal is substantially likely to result in reversal or a lesser sentence. A

substantial question, for these purposes, is "a 'close' question or one that

very well could be decided the other way." United States v. Steinhorn,

927 F.2d 195, 196 (4th Cir. 1991); Hamrick, supra, at 68. Failing any

such showing, the undersigned is without any discretion to grant the relief

requested.


     Case 3:01-cr-00011-MOC     Document 494    Filed 08/28/07   Page 2 of 3
                                     3

     Defendant is advised that he may renew this application before the

Fourth Circuit Court of Appeals. Fed. R. App. P. 8, 18.

     IT IS, THEREFORE, ORDERED that the Defendant's motion for

release pending appeal is hereby DENIED.


                                     Signed: August 28, 2007




     Case 3:01-cr-00011-MOC   Document 494    Filed 08/28/07   Page 3 of 3
